                   Case 15-72960-wlh                            Doc 1           Filed 11/30/15 Entered 11/30/15 17:41:38                                                   Desc Main 11/30/15 5:34PM
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                                                                                Document Page 1 of 79
                                                  United States Bankruptcy Court
                                                          Northern District of Georgia                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Mueller, Jochen                                                                                              Mueller, Mary


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-2659                                                                                                  xxx-xx-7038
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  937 Roanoke Drive                                                                                           937 Roanoke Drive
   Marietta, GA                                                                                                Marietta, GA
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         30066                                                                                          30066
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cobb                                                                                                         Cobb
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                  Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                     business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
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                                                                Document Page 2 of 79                                                                                      Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Mueller, Jochen
(This page must be completed and filed in every case)                                  Mueller, Mary
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Phyllis Gingrey Collins                       November 30, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Phyllis Gingrey Collins 141463

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Mueller, Jochen
(This page must be completed and filed in every case)                                       Mueller, Mary
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Jochen Mueller                                                                   X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Jochen Mueller

 X    /s/ Mary Mueller                                                                         Printed Name of Foreign Representative
     Signature of Joint Debtor Mary Mueller
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     November 30, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Phyllis Gingrey Collins
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Phyllis Gingrey Collins 141463                                                           debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Phyllis Gingrey Collins
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      278 North Marietta Parkway
      Marietta, GA 30060                                                                       Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                      Email: phyllis@gentrysmithlaw.com
      678.486.7050 Fax: 678.486.7051
     Telephone Number
     November 30, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
            Jochen Mueller
 In re      Mary Mueller                                                                            Case No.
                                                                                 Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:        /s/ Jochen Mueller
                                                                                   Jochen Mueller
                                                       Date:         November 30, 2015




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
            Jochen Mueller
 In re      Mary Mueller                                                                            Case No.
                                                                                 Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.
           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                   Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
             I certify under penalty of perjury that the information provided above is true and correct.

                                                       Signature of Debtor:       /s/ Mary Mueller
                                                                                  Mary Mueller
                                                       Date:         November 30, 2015




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B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
             Jochen Mueller
 In re       Mary Mueller                                                                                      Case No.
                                                                                 Debtor(s)                     Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $21,065.00                            2015 YTD: Husband SSI Benefits
                          $25,463.00                            2014: Husband SSI Benefits
                          $25,463.00                            2013: Husband SSI Benefits
                          $19,030.00                            2015 YTD: Wife SSI Benefits

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2
                         AMOUNT                                 SOURCE
                         $23,267.00                             2014: Wife SSI Benefits
                         $23,267.00                             2013: Wife SSI Benefits
                         $10,450.00                             2015 YTD: Husband pension
                         $11,400.00                             2014: Husband pension
                         $11,400.00                             2013: Husband pension
                         $4,400.00                              2015 YTD: Wife pension
                         $4,800.00                              2014: Wife pension
                         $4,800.00                              2013: Wife pension

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                        DATES OF                                                       AMOUNT STILL
    OF CREDITOR                                                          PAYMENTS                             AMOUNT PAID                 OWING
 Foundation Real Estate                                                  10/19/15, security deposit             $1,400.00                   $0.00
                                                                         on rental
 Global Imports                                                          10/21/15 vehicle repair                   $1,122.62                     $0.00


      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                         DATES OF                                   PAID OR
                                                                         PAYMENTS/                                VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                               TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                      AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION

  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION
 American Express Bank, FSB v. Jochen Mueller                           Contract          Superior Court of Cob County                    Pending
 15-1-6142-49

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                                AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                         OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                     OF PROPERTY
 Phyllis Gingrey Collins                                                 6/2015                                        $2500.00
 278 North Marietta Parkway
 Marietta, GA 30060
 Abacus Credit Counseling                                                9-20-15                                       $25



               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)              IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                          TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                     AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                            OR CLOSING
 Go Fund Me                                                                                                             $0
                                                                                                                        10/2015

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY




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               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                     DATES OF OCCUPANCY
 5097 Viking Walk                                                        Jochen Mueller
 Marietta, GA 30068                                                      Mary Mueller

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW




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   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                  STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES
 Familiy Recovery                                                     2340 Windy Hill Road        additction counseling            12/97 to 8/15
 Center                                                               Ste. 300
                                                                      Marietta, GA 30067

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.



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 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                                NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                              RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY




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               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date November 30, 2015                                                 Signature   /s/ Jochen Mueller
                                                                                    Jochen Mueller
                                                                                    Debtor


 Date November 30, 2015                                                 Signature   /s/ Mary Mueller
                                                                                    Mary Mueller
                                                                                    Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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  In re         Jochen Mueller,                                                                                 Case No.
                Mary Mueller
                                                                                                    ,
                                                                                      Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                    Husband,    Current Value of
                                                                            Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                        Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption

personal residence                                                          Fee simple                  J                  328,000.00               332,475.24
5097 Viking Walk
Marietta, GA 30068

Lot 3 Sec A Beulah Lands                                                    Fee simple                  J                   17,350.00                        0.00
North Carolina
1 acre




                                                                                                    Sub-Total >            345,350.00       (Total of this page)

                                                                                                            Total >        345,350.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                    (Report also on Summary of Schedules)
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  In re         Jochen Mueller,                                                                                    Case No.
                Mary Mueller
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    checking account ending in 9177                                 J                           800.00
      accounts, certificates of deposit, or                    Wells Fargo
      shares in banks, savings and loan,
      thrift, building and loan, and                          checking account                                                J                           400.00
      homestead associations, or credit                       East West Bank
      unions, brokerage houses, or                            ending in 1465
      cooperatives.
                                                              Charles Schwab & Co.                                            J                              9.00
                                                              brokerage account ending in 5482


3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        household goods and furnishings, including, but                 J                        2,800.00
      including audio, video, and                             not limited to, stove, refrigerator, washer/dryer,
      computer equipment.                                     microwave, cooking utencils, silverware/flatware,
                                                              cookware, furniture, tvs, phones, yard tools,
                                                              computers, printers, etc.

5.    Books, pictures and other art                           art                                                             J                           500.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        clothes                                                         J                           400.00

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                        Life Insurance Prudential                                       W                        2,008.00
      Name insurance company of each                          ending in 7429
      policy and itemize surrender or                         case value $2008
      refund value of each.



                                                                                                                              Sub-Total >            6,917.00
                                                                                                                  (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re         Jochen Mueller,                                                                                    Case No.
                Mary Mueller
                                                                                                       ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption
                                                              Prudential Life Insurance                                       H                      29,621.00
                                                              2 policies ending in 3149 (cash value at $9,875)
                                                              and 1512 (cash value at $19,746)


                                                              Hartford Life Insurance                                         H                      13,088.00
                                                               irrevocable trust

10. Annuities. Itemize and name each                      X
    issuer.

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.


                                                                                                                              Sub-Total >          42,709.00
                                                                                                                  (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                Case 15-72960-wlh                        Doc 1         Filed 11/30/15 Entered 11/30/15 17:41:38                        Desc Main 11/30/15 5:34PM
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B6B (Official Form 6B) (12/07) - Cont.




  In re         Jochen Mueller,                                                                                    Case No.
                Mary Mueller
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2006 BMW 525iA                                                  J                        6,900.00
    other vehicles and accessories.                            90,000 miles

                                                              2012 Honda Civic                                                J                        7,700.00

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.



                                                                                                                              Sub-Total >          14,600.00
                                                                                                                  (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Jochen Mueller,                                                                                    Case No.
                Mary Mueller
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                              Sub-Total >                  0.00
                                                                                                                  (Total of this page)
                                                                                                                                   Total >         64,226.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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                 Case 15-72960-wlh                        Doc 1         Filed 11/30/15 Entered 11/30/15 17:41:38                                Desc Main 11/30/15 5:34PM
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 B6C (Official Form 6C) (4/13)


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   In re         Jochen Mueller,                                                                                      Case No.
                 Mary Mueller
                                                                                                          ,
                                                                                       Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                        Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
checking account ending in 9177                   O.C.G.A. § 44-13-100(a)(6)                                                          800.00                            800.00
 Wells Fargo

checking account                                                         O.C.G.A. § 44-13-100(a)(6)                                   400.00                            400.00
East West Bank
ending in 1465

Charles Schwab & Co.                                                     O.C.G.A. § 44-13-100(a)(6)                                       9.00                             9.00
 brokerage account ending in 5482

Household Goods and Furnishings
household goods and furnishings, including,                              O.C.G.A. § 44-13-100(a)(4)                                 2,800.00                         2,800.00
but not limited to, stove, refrigerator,
washer/dryer, microwave, cooking utencils,
silverware/flatware, cookware, furniture, tvs,
phones, yard tools, computers, printers, etc.

Books, Pictures and Other Art Objects; Collectibles
art                                                 O.C.G.A. § 44-13-100(a)(6)                                                        500.00                            500.00

Wearing Apparel
clothes                                                                  O.C.G.A. § 44-13-100(a)(4)                                   400.00                            400.00

Interests in Insurance Policies
Life Insurance Prudential                                                O.C.G.A. § 44-13-100(a)(6)                                       0.00                       2,008.00
ending in 7429
case value $2008

Prudential Life Insurance                                                O.C.G.A. § 44-13-100(a)(6)                               20,691.00                        29,621.00
2 policies ending in 3149 (cash value at
$9,875) and 1512 (cash value at $19,746)

Hartford Life Insurance                                                  O.C.G.A. § 44-13-100(a)(8)                               13,088.00                        13,088.00
 irrevocable trust

Automobiles, Trucks, Trailers, and Other Vehicles
2006 BMW 525iA                                                           O.C.G.A. § 44-13-100(a)(3)                                 6,900.00                         6,900.00
 90,000 miles

2012 Honda Civic                                                         O.C.G.A. § 44-13-100(a)(3)                                   217.35                         7,700.00




                                                                                                          Total:                  45,805.35                        64,226.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re         Jochen Mueller,                                                                                               Case No.
                 Mary Mueller
                                                                                                                  ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                             O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                             T    I   P       WITHOUT          UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                           I    Q   U                        PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                           DEDUCTING
           AND ACCOUNT NUMBER                                O                                                             G    I   E       VALUE OF            ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                               SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxxxx7012                                                Opened 6/04/11 Last Active 8/18/15                         E
                                                                                                                                D

American Honda Finance                                               Automobile Loan
Po Box 1027
Alpharetta, GA 30009                                                 2012 Honda Civic
                                                                 J

                                                                        Value $                             7,700.00                          7,482.65                     0.00
Account No. xxxxx0777                                                Opened 7/25/09 Last Active 6/15/15
                                                                     First Mortgage
Nationstar Mortgage Ll
350 Highland Dr                                                    personal residence
Lewisville, TX 75067                                               5097 Viking Walk
                                                                 J Marietta, GA 30068

                                                                        Value $                         328,000.00                          210,501.00                     0.00
Account No. xxxxxxxxxxxxx1998                                        Opened 1/26/07 Last Active 3/01/15
                                                                     Home Equity Line of Credit
Wells Fargo Bank Nv Na
Po Box 31557                                                       personal residence
Billings, MT 59107                                                 5097 Viking Walk
                                                                 J Marietta, GA 30068

                                                                        Value $                         328,000.00                          121,974.24               4,475.24
Account No.




                                                                        Value $
                                                                                                                        Subtotal
 0
_____ continuation sheets attached                                                                                                          339,957.89               4,475.24
                                                                                                               (Total of this page)
                                                                                                                          Total             339,957.89               4,475.24
                                                                                                (Report on Summary of Schedules)

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  In re         Jochen Mueller,                                                                                                    Case No.
                Mary Mueller
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             1         continuation sheets attached
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   In re         Jochen Mueller,                                                                                              Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                                  Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)
                                                                                                                          Taxes and Certain Other Debts
                                                                                                                           Owed to Governmental Units
                                                                                                                                       TYPE OF PRIORITY
                                                             C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                O                                                            O    N   I                      AMOUNT NOT
                                                             D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                               E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                              B   W
                                                                         AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                          OF CLAIM
           AND ACCOUNT NUMBER                                T   J                                                        N    U   T                                AMOUNT
                                                             O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                            R   C                                                        E    D   D
                                                                                                                          N    A
                                                                                                                                                                    PRIORITY
                                                                                                                          T    T
Account No. xx-xxxx-x-062-0                                          2015                                                      E
                                                                                                                               D

Cobb County Tax Assessor
736 Whitlock Avenue                                                                                                                                       922.82
Suite 200
                                                                 J
Marietta, GA 30064

                                                                                                                                                922.82                    0.00
Account No.                                                          2011

IRS
P.O. Box 21126                                                                                                                                            0.00
Philadelphia, PA 19114
                                                                 J

                                                                                                                                              2,349.00              2,349.00
Account No. 2012

IRS
P.O. Box 21126                                                                                                                                            0.00
Philadelphia, PA 19114
                                                                 J

                                                                                                                                              8,515.00              8,515.00
Account No. 2659                                                     2015

IRS
ACS Support - Stop 5050                                                                                                                                   0.00
P.O. Box 219236
                                                                 J
Kansas City, MO 64121

                                                                                                                                             11,315.17             11,315.17
Account No. 8955                                                     2015

Macon County Tax Collector
5 West Main Street                                                                                                                                        0.00
Franklin, NC 28734
                                                                 J

                                                                                                                                                 79.69                  79.69
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                  Subtotal                           922.82
Schedule of Creditors Holding Unsecured Priority Claims                                                       (Total of this page)           23,181.68             22,258.86
                                                                                                                          Total                           922.82
                                                                                                (Report on Summary of Schedules)             23,181.68             22,258.86

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   In re         Jochen Mueller,                                                                                         Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxx0115                                                          Opened 9/07/06 Last Active 8/07/07                          T   T
                                                                                                                                                E
                                                                                Installment Sales Contract                                      D

Affiliated
Po Box 790001                                                               W
Sunrise Beach, MO 65079

                                                                                                                                                                             0.00
Account No. xxxxxx0468                                                          Opened 10/01/10 Last Active 9/01/11
                                                                                Installment Sales Contract
Affiliated
Po Box 790001                                                               W
Sunrise Beach, MO 65079

                                                                                                                                                                             0.00
Account No. xxxxxx xx 2006

American Express
P.O. Box 981537                                                         X H
El Paso, TX 79998

                                                                                                                                                                       1,398.28
Account No. xxxxxxxx9630

Ameripath
4350 Alpha Road                                                             J
75244
Dallas, TX 75244
                                                                                                                                                                           14.20

                                                                                                                                        Subtotal
 19 continuation sheets attached
_____                                                                                                                                                                  1,412.48
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. -xxxxxxxxxxxx4773                                                   Opened 1/01/70 Last Active 12/01/14                     E
                                                                                 Credit Card                                            D

Amex
Po Box 297871                                                               H
Fort Lauderdale, FL 33329

                                                                                                                                                            4,778.00
Account No. -xxxxxxxxxxxx3083                                                   Opened 2/09/70 Last Active 1/01/15
                                                                                 Credit Card
Amex
Po Box 297871                                                               H
Fort Lauderdale, FL 33329

                                                                                                                                                            4,424.00
Account No. -xxxxxxxxxxxx0543                                                   Opened 3/01/08 Last Active 12/01/14
                                                                                 Credit Card
Amex
Po Box 297871                                                               H
Fort Lauderdale, FL 33329

                                                                                                                                                            2,198.00
Account No. -xxxxxxxxxxxx0853                                                   Opened 4/23/98 Last Active 1/01/15
                                                                                 Credit Card
Amex
Po Box 297871                                                               H
Fort Lauderdale, FL 33329

                                                                                                                                                            1,398.00
Account No. x9206

Atlanta Cancer Care
NSH Cancer Institute                                                        H                                                       X
P.O. Box 935547
Atlanta, GA 31193
                                                                                                                                                                32.00

           1
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          12,830.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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                 Case 15-72960-wlh                        Doc 1         Filed 11/30/15 Entered 11/30/15 17:41:38                        Desc Main 11/30/15 5:34PM
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxx3113                                                           Opened 12/19/05 Last Active 7/31/09                     E
                                                                                 Real Estate Mortgage                                   D

Bk Of Amer
1800 Tapo Canyon Rd                                                         J
Simi Valley, CA 93063

                                                                                                                                                                  0.00
Account No. xxxxxxxxx0316                                                       Opened 11/05/03 Last Active 11/16/05
                                                                                 Real Estate Mortgage
Bk Of Amer
1800 Tapo Canyon Rd                                                         J
Simi Valley, CA 93063

                                                                                                                                                                  0.00
Account No. xxxxx7109                                                           Opened 7/25/09 Last Active 1/31/13
                                                                                 Real Estate Mortgage
Bk Of Amer
1800 Tapo Canyon Rd                                                         J
Simi Valley, CA 93063

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx7383                                                    Opened 10/01/73 Last Active 11/01/06
                                                                                 Credit Card
Bk Of Amer
Po Box 982235                                                               J
El Paso, TX 79998

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx0974                                                    Opened 6/14/98 Last Active 9/01/08
                                                                                 Credit Card
Bk Of Amer
Po Box 982235                                                               J
El Paso, TX 79998

                                                                                                                                                                  0.00

           2
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                  0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxx5802                                                       Opened 5/27/07 Last Active 4/23/13                      E
                                                                                 Charge Account                                         D

Blmdsnb
9111 Duke Blvd                                                              W
Mason, OH 45040

                                                                                                                                                                  0.00
Account No. xxxxxx-xxxxxx5848                                                   Opened 11/01/96 Last Active 3/31/08
                                                                                 Charge Account
Cap1/Cosco
Po Box 5253                                                                 W
Carol Stream, IL 60197

                                                                                                                                                                  0.00
Account No. xxxxxx-xxxxxx7985                                                   Opened 11/01/96 Last Active 6/02/08
                                                                                 Charge Account
Cap1/Cosco
Po Box 5253                                                                 W
Carol Stream, IL 60197

                                                                                                                                                                  0.00
Account No. xx1001                                                              Opened 8/03/98 Last Active 5/22/05
                                                                                 Charge Account
Cap1/Vlcty
Po Box 15524                                                                W
Wilmington, DE 19850

                                                                                                                                                           Unknown
Account No. xx7173

Center for Women's Health
1 Magnolia Court                                                            W
Moultrie, GA 31768

                                                                                                                                                                54.00

           3
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                                54.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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                 Case 15-72960-wlh                        Doc 1         Filed 11/30/15 Entered 11/30/15 17:41:38                        Desc Main 11/30/15 5:34PM
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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx0881                                                    Opened 5/10/98 Last Active 2/20/15                      E
                                                                                 Credit Card                                            D

Chase Card
Po Box 15298                                                                H
Wilmington, DE 19850

                                                                                                                                                            9,310.00
Account No. xxxxxxxxxxxx7578                                                    Opened 3/17/09 Last Active 12/01/14
                                                                                 Credit Card
Chase Card
Po Box 15298                                                                W
Wilmington, DE 19850

                                                                                                                                                            4,300.00
Account No. xxxxxxxxxxxx6445                                                    Opened 7/27/06 Last Active 5/01/15
                                                                                 Credit Card
Chase Card
Po Box 15298                                                                J
Wilmington, DE 19850

                                                                                                                                                            2,916.00
Account No. xxxxxxxx2654                                                        Opened 7/01/06 Last Active 5/01/07

Chase Card
201 N Walnut Street Mailstop De1-1027                                       H
Wilmington, DE 19801

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx5987                                                    Opened 11/26/00 Last Active 5/02/08
                                                                                 Credit Card
Chase Card
Po Box 15298                                                                J
Wilmington, DE 19850

                                                                                                                                                                  0.00

           4
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          16,526.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx5222                                                    Opened 3/14/86 Last Active 1/04/06                      E
                                                                                 Credit Card                                            D

Chase Card
Po Box 15298                                                                J
Wilmington, DE 19850

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx9628                                                    Opened 10/28/93 Last Active 12/15/14
                                                                                 Credit Card
Citi
Po Box 6241                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                            4,441.00
Account No. xxxxxxxxxxxx4082                                                    Opened 3/08/07 Last Active 12/15/14
                                                                                 Credit Card
Citi
Po Box 6241                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                            4,194.00
Account No. xxxxxxxxxxxx1532                                                    Opened 9/01/83 Last Active 11/09/12
                                                                                 Credit Card
Citi
Po Box 6241                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                            1,351.00
Account No. xxxxxxxxxxxx8435                                                    Opened 5/01/98 Last Active 1/06/06
                                                                                 Credit Card
Citi
Po Box 6241                                                                 J
Sioux Falls, SD 57117

                                                                                                                                                                  0.00

           5
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            9,986.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxx5920                                                         Opened 7/24/98 Last Active 1/02/06                      E
                                                                                 Employment                                             D

Citibank N A
701 E 60th St N                                                             H
Sioux Falls, SD 57104

                                                                                                                                                                  0.00
Account No.

Colquitt Hospital
3131 South Main Street                                                      W
Moultrie, GA 31768

                                                                                                                                                              867.00
Account No. x-x4966

Colquitt Regional Cardiology
1 Sweet Bay Court                                                           W
Ste B
Moultrie, GA 31768
                                                                                                                                                                22.72
Account No. MUELM

Convenient Pharmacy
P.O. Box 861                                                                W
Moultrie, GA 31776

                                                                                                                                                              100.00
Account No. xxxxxxxxxxxx2028                                                    Opened 10/01/85 Last Active 8/01/15
                                                                                 Credit Card
Discover Fin Svcs Llc
Po Box 15316                                                                J
Wilmington, DE 19850

                                                                                                                                                          12,882.00

           6
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          13,871.72
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx5350                                                    Opened 11/10/05 Last Active 1/01/15                     E
                                                                                 Credit Card                                            D

Eastern Financial Fl C
3700 Lakeside Dr                                                            H
Miramar, FL 33027

                                                                                                                                                            6,939.00
Account No. xxxxxxxxxxxx4944                                                    Opened 11/10/05 Last Active 1/02/09
                                                                                 Credit Card
Eastern Financial Fl C
3700 Lakeside Dr                                                            H
Miramar, FL 33027

                                                                                                                                                                  0.00
Account No.

Emory
P.O. Box 934120                                                             H
Atlanta, GA 31193

                                                                                                                                                                42.40
Account No.

Emory Adventist Hosptial
3949 South Cobb Drive                                                       J
Smyrna, GA 30082

                                                                                                                                                              178.00
Account No. 8887

Emory Health Care
201 Downan Drive                                                            J
Atlanta, GA 30322

                                                                                                                                                                42.50

           7
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            7,201.90
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. 5045                                                                                                                        E
                                                                                                                                        D

Emory Hospital
1364 Clifton Road                                                           J
Atlanta, GA 30322

                                                                                                                                                              944.00
Account No.

Emory Saint Joseph
P.O. Box 3475                                                               H
Toledo, OH 43607

                                                                                                                                                                57.40
Account No. xxxxxxxxxxxx6353                                                    Opened 9/01/78 Last Active 9/01/08
                                                                                 Credit Card
Fia Csna
Po Box 982235                                                               J
El Paso, TX 79998

                                                                                                                                                                  0.00
Account No. xxxxxxxx2000                                                        Opened 8/01/11 Last Active 7/02/15
                                                                                 Lease
First Data
265 Broad Hollow R                                                          W
Melville, NY 11747

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxx5936                                                     Opened 11/01/90 Last Active 1/23/06
                                                                                 Credit Card
Fnb Omaha
P.O. Box 3412                                                               J
Omaha, NE 68197

                                                                                                                                                                  0.00

           8
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            1,001.40
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxx4351                                                     Opened 4/01/79 Last Active 1/18/06                      E
                                                                                 Credit Card                                            D

Fnb Omaha
Po Box 3412                                                                 W
Omaha, NE 68103

                                                                                                                                                                  0.00
Account No. x-xx966-0

JD Waller
1 Sweet Bay Court                                                           W
Ste B
Moultrie, GA 31768
                                                                                                                                                                23.00
Account No. xxxxxxx0091

John Hopkins
P.O. Box 8540                                                               W
Big Sandy, TX 75755

                                                                                                                                                                28.00
Account No. xx4650

Kirk Clinic Family Medicine
8 Laurel Court                                                              W
Moultrie, GA 31768

                                                                                                                                                              149.00
Account No. xxxxxxxxxxxx5278                                                    Opened 3/08/01 Last Active 8/01/15
                                                                                 Charge Account
Kohls/Capone
N56 W 17000 Ridgewood Dr                                                    J
Menomonee Falls, WI 53051

                                                                                                                                                              153.00

           9
Sheet no. _____     19 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                              353.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxx0402                                                         Opened 5/29/97 Last Active 5/18/15                      E
                                                                                 Credit Card                                            D

Lge Community Cu
Po Box 1188                                                                 H
Marietta, GA 30061

                                                                                                                                                          13,532.00
Account No. xxxxxxx0800                                                         Opened 3/01/00 Last Active 2/01/04

Lge Cu
86 South Cobb Dr                                                            J
Marietta, GA 30060-3113

                                                                                                                                                                  0.00
Account No. xxxxxxxxx4020                                                       Opened 9/01/78 Last Active 3/01/15
                                                                                 Charge Account
Mcydsnb
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                              525.00
Account No. xxxxxxxxx0020                                                       Opened 9/01/78 Last Active 2/17/03
                                                                                 Charge Account
Mcydsnb
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                                  0.00
Account No. xxxxxxxxx0030                                                       Opened 9/01/78 Last Active 4/25/96
                                                                                 Charge Account
Mcydsnb
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                                  0.00

           10 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                          14,057.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxx4031                                                       Opened 10/31/06 Last Active 4/25/07                     E
                                                                                 Charge Account                                         D

Mcydsnb
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                                  0.00
Account No. xxxxxxxxx4036                                                       Opened 12/02/06 Last Active 7/23/07
                                                                                 Charge Account
Mcydsnb
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx5079                                                    Opened 11/09/02 Last Active 7/30/08
                                                                                 Automobile
Mmca/C1
Po Box 91614                                                                W
Mobile, AL 36691

                                                                                                                                                                  0.00
Account No.

NAPA Psychiatric Asson
2150 Peachford Road                                                         W                                                       X
Atlanta, GA 30338

                                                                                                                                                              224.00
Account No. xxxxx5-NP9

North Atlanta Professioinal
P.O. Box 932380                                                             J
Atlanta, GA 31193

                                                                                                                                                                84.00

           11 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                              308.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

North Atlanta Pulmonary
P.O. Box 935544                                                             H
Atlanta, GA 31193

                                                                                                                                                                40.61
Account No. 0071

Northside Anesthesiology
1000 Johnson Ferry Rd                                                       J
Atlanta, GA 30342

                                                                                                                                                              110.00
Account No.

Northside Emergency Assn
1000 Johnson Ferry Road NE                                                  W
Atlanta, GA 30342

                                                                                                                                                                35.00
Account No.                                                                     A1425900071

Northside Hospital
1100 Johnson Ferry Rd                                                       W
Ste. 780
Atlanta, GA 30342-1611
                                                                                                                                                            1,100.50
Account No.

Northside Radiology
P.O. Box 100015                                                             H
Kennesaw, GA 30156-9215

                                                                                                                                                                28.78

           12 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                            1,314.89
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No.                                                                                                                             E
                                                                                                                                        D

Pathology & Lab Medicine
3300 Buckeye Rd                                                             H                                                       X
STE 178
Atlanta, GA 30341
                                                                                                                                                                54.77
Account No. xxxxxxx0015

Peachford BHS
2151 Peachford Road                                                         J
Atlanta, GA 30338

                                                                                                                                                            1,216.00
Account No.

Phoebe Physicians Group
510 West 2nd Avenue                                                         J
Albany, GA 31706

                                                                                                                                                              168.00
Account No. xxx8068                                                             Opened 8/31/14 Last Active 2/01/14
                                                                                 Collection Attorney Colquitt Regional Me
Pmab Llc
4135 S Stream Blvd Ste 4                                                    W
Charlotte, NC 28217

                                                                                                                                                              869.00
Account No.

Quantum Radiology
P.O. Box 100023                                                             J
Kennesaw, GA 30156

                                                                                                                                                                20.00

           13 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                            2,327.77
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                                                                             E
                                                                                                                                        D

QVC
1200 Wilson Drive                                                           J
West Chester, PA 19380

                                                                                                                                                              685.00
Account No.

Resurgens Orthopaedics
P.O. Box 720580                                                             H
Atlanta, GA 30358-2580

                                                                                                                                                                29.28
Account No. x9988

Ridgeview
3995 S. Cobb Drive                                                          J
Smyrna, GA 30080

                                                                                                                                                              884.00
Account No.

Sam's Club
P.O. Box 530942                                                             J
Atlanta, GA 30353

                                                                                                                                                            3,600.00
Account No.

Smyrna Emergency Physicians
3949 South Cobb Drive SE                                                    J
Smyrna, GA 30080

                                                                                                                                                                35.00

           14 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                            5,233.28
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No.                                                                                                                             E
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Spacecoast Credit Union
8045 N. Wickham Road                                                        J
Melbourne, FL 32940

                                                                                                                                                            6,700.00
Account No. xxxxxxxxxxxx7560                                                    Opened 10/26/07 Last Active 11/14/14
                                                                                 Charge Account
Syncb/Belk
Po Box 965028                                                               W
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx5261                                                    Opened 1/23/79 Last Active 12/27/00
                                                                                 Charge Account
Syncb/Jcp
Po Box 965007                                                               J
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx1007                                                    Opened 10/24/06 Last Active 11/15/06
                                                                                 Charge Account
Syncb/Kirklands
Po Box 965005                                                               W
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xx6051                                                              Opened 3/01/79 Last Active 2/05/01
                                                                                 Charge Account
Syncb/Lord & Tay
Po Box 965015                                                               J
Orlando, FL 32896

                                                                                                                                                           Unknown

           15 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                            6,700.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
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Account No. xxxxxxxx7501                                                        Opened 4/10/89                                          E
                                                                                 Charge Account                                         D

Syncb/Mervyns
Po Box 965005                                                               W
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx6377                                                    Opened 7/24/05 Last Active 1/07/13
                                                                                 Charge Account
Syncb/Old Navy
Po Box 965005                                                               W
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xxxxxxx1079                                                         Opened 4/15/98 Last Active 12/01/14
                                                                                 Charge Account
Syncb/Qvc
Po Box 965018                                                               W
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx2641                                                    Opened 4/15/07 Last Active 1/03/13
                                                                                 Charge Account
Syncb/Rooms To Go
950 Forrer Blvd                                                             W
Kettering, OH 45420

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx7165                                                    Opened 4/21/02 Last Active 7/09/15
                                                                                 Charge Account
Syncb/Sams
Po Box 965005                                                               J
Orlando, FL 32896

                                                                                                                                                                  0.00

           16 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                                  0.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx7165                                                    Opened 4/21/02 Last Active 7/10/15                      E
                                                                                 Charge Account                                         D

Syncb/Sams Club
Po Box 965005                                                               W
Orlando, FL 32896

                                                                                                                                                            4,033.00
Account No. xxxxxxxxxxxx8471                                                    Opened 1/26/97 Last Active 12/16/14
                                                                                 Credit Card
Td Bank Usa/Targetcred
Po Box 673                                                                  J
Minneapolis, MN 55440

                                                                                                                                                          11,472.00
Account No. x2068                                                               Opened 1/26/97 Last Active 10/22/01
                                                                                 Charge Account
Tnb - Target
Po Box 673                                                                  W
Minneapolis, MN 55440

                                                                                                                                                           Unknown
Account No. xxxxxx0070

Turning Point Hospital
3015 Veterans Pkwy                                                          W
Moultrie, GA 31768

                                                                                                                                                            1,349.00
Account No. xxx9103                                                             Opened 8/29/14 Last Active 2/01/14
                                                                                 Collection Attorney Phoebe Physician Gro
Union Credit Corporati
414 N Westover Blvd Ste                                                     W
Albany, GA 31707

                                                                                                                                                              168.00

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Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                          17,022.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                     Case No.
                 Mary Mueller
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx1244                                                    Opened 5/27/07 Last Active 4/14/14                      E
                                                                                 Credit Card                                            D

Visdsnb
9111 Duke Blvd                                                              J
Mason, OH 45040

                                                                                                                                                              408.00
Account No. xxxx0856                                                            Opened 11/12/11 Last Active 12/23/11
                                                                                 Charge Account
Von Maur
6565 Brady                                                                  J
Davenport, IA 52806

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx1829                                                    Opened 11/13/06 Last Active 4/01/15
                                                                                 Credit Card
Wells Fargo Bank
Po Box 14517                                                                J
Des Moines, IA 50306

                                                                                                                                                            9,684.00
Account No. xxxxxxxxx7643                                                       Opened 6/18/12 Last Active 8/04/15
                                                                                FHA Real Estate Mortgage
Wells Fargo Hm Mortgag
8480 Stagecoach Cir                                                         J
Frederick, MD 21701

                                                                                                                                                        171,629.00
Account No. xxxxxxxxx9932                                                       Opened 3/14/08 Last Active 5/30/12
                                                                                FHA Real Estate Mortgage
Wells Fargo Hm Mortgag
8480 Stagecoach Cir                                                         J
Frederick, MD 21701

                                                                                                                                                                  0.00

           18 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                        181,721.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Jochen Mueller,                                                                                           Case No.
                 Mary Mueller
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
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                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxx3200                                                          Opened 9/14/78 Last Active 7/08/15                             E
                                                                                Check Credit Or Line Of Credit                                 D

Wf Pll
Po Box 94435                                                                J
Albuquerque, NM 87199

                                                                                                                                                                     668.00
Account No. xxxxxxxxxxxx2908                                                    Opened 1/30/07 Last Active 3/01/11
                                                                                Home Equity Line Of Credit
Wf/Wb
Po Box 3117                                                                 J
Winston Salem, NC 27102

                                                                                                                                                                         0.00
Account No.




Account No.




Account No.




           19 of _____
Sheet no. _____    19 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                                     668.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)              292,588.44


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  In re             Jochen Mueller,                                                                             Case No.
                    Mary Mueller
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Foundation Real Estate                                              rental house




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          Jochen Mueller,                                                                         Case No.
                 Mary Mueller
                                                                                               ,
                                                                                  Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR

                  JM Consultants                                                     American Express
                                                                                     P.O. Box 981537
                                                                                     El Paso, TX 79998




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               continuation sheets attached to Schedule of Codebtors
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Fill in this information to identify your case:

Debtor 1                      Jochen Mueller

Debtor 2                      Mary Mueller
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $             0.00    $               0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$              0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $          0.00           $         0.00




Official Form B 6I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Jochen Mueller
Debtor 2    Mary Mueller                                                                          Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $              0.00     $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.     $              0.00     $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $              0.00     $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $              0.00     $                0.00
      5e.   Insurance                                                                      5e.     $              0.00     $                0.00
      5f.   Domestic support obligations                                                   5f.     $              0.00     $                0.00
      5g.   Union dues                                                                     5g.     $              0.00     $                0.00
      5h.   Other deductions. Specify:                                                     5h.+    $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $             0.00      $            0.00
      8d. Unemployment compensation                                                        8d.     $             0.00      $            0.00
      8e. Social Security                                                                  8e.     $         1,936.20      $        1,867.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $               983.75   $              400.00
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,919.95      $           2,267.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           2,919.95 + $        2,267.00 = $            5,186.95
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          5,186.95
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 Jochen Mueller                                                                     Check if this is:
                                                                                                                An amended filing
Debtor 2                 Mary Mueller                                                                           A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number                                                                                                          A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                        No
      dependents' names.                                                                                                                      Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                              75.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                              50.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                             275.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                   page 1
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Debtor 1     Jochen Mueller
Debtor 2     Mary Mueller                                                                               Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                      6a.   $                                449.00
      6b. Water, sewer, garbage collection                                                                    6b.   $                                 75.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.   $                                167.00
      6d. Other. Specify: AT & T uverse                                                                       6d.   $                                240.00
             cycle sanitation                                                                                       $                                  9.00
7.    Food and housekeeping supplies                                                          7.                    $                                600.00
8.    Childcare and children’s education costs                                                8.                    $                                  0.00
9.    Clothing, laundry, and dry cleaning                                                     9.                    $                                 50.00
10.   Personal care products and services                                                   10.                     $                                 25.00
11.   Medical and dental expenses                                                           11.                     $                                200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                     20.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    400.00
      15b. Health insurance                                                                15b. $                                                    271.00
      15c. Vehicle insurance                                                               15c. $                                                    175.00
      15d. Other insurance. Specify: umbrella liability                                    15d. $                                                     35.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    417.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify:                                                                 17c. $                                                      0.00
      17d. Other. Specify:                                                                 17d. $                                                      0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    pet                                                                21. +$                                                    10.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.       $                      5,443.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               5,186.95
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              5,443.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                 -256.05

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
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B8 (Form 8) (12/08)
                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
            Jochen Mueller
 In re      Mary Mueller                                                                                   Case No.
                                                                                   Debtor(s)               Chapter     7


                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)
 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 American Honda Finance                                                             2012 Honda Civic

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Nationstar Mortgage Ll                                                             personal residence
                                                                                    5097 Viking Walk
                                                                                    Marietta, GA 30068

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                                          Page 2
 Property No. 3

 Creditor's Name:                                                                    Describe Property Securing Debt:
 Wells Fargo Bank Nv Na                                                              personal residence
                                                                                     5097 Viking Walk
                                                                                     Marietta, GA 30068

 Property will be (check one):
        Surrendered                                                     Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)
Property No. 1

 Lessor's Name:                                                Describe Leased Property:                  Lease will be Assumed pursuant to 11
 Foundation Real Estate                                        rental house                               U.S.C. § 365(p)(2):
                                                                                                             YES              NO




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date November 30, 2015                                                 Signature   /s/ Jochen Mueller
                                                                                    Jochen Mueller
                                                                                    Debtor


 Date November 30, 2015                                                 Signature   /s/ Mary Mueller
                                                                                    Mary Mueller
                                                                                    Joint Debtor




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                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
             Jochen Mueller
 In re       Mary Mueller                                                                                     Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                     2,500.00
             Balance Due                                                                                  $                        0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                          CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      November 30, 2015                                                   /s/ Phyllis Gingrey Collins
                                                                                 Phyllis Gingrey Collins 141463
                                                                                 Phyllis Gingrey Collins
                                                                                 278 North Marietta Parkway
                                                                                 Marietta, GA 30060
                                                                                 678.486.7050 Fax: 678.486.7051
                                                                                 phyllis@gentrysmithlaw.com




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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re          Jochen Mueller,                                                                              Case No.
                 Mary Mueller
                                                                                                        ,
                                                                                       Debtors                Chapter                     7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS                LIABILITIES               OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                  345,350.00


B - Personal Property                                          Yes            4                   64,226.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                         339,957.89


E - Creditors Holding Unsecured                                Yes            2                                          23,181.68
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            20                                        292,588.44
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            2                                                                    5,186.95
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    5,443.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    35


                                                                        Total Assets             409,576.00


                                                                                         Total Liabilities              655,728.01




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B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re           Jochen Mueller,                                                                                     Case No.
                  Mary Mueller
                                                                                                           ,
                                                                                        Debtors                       Chapter              7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                           23,181.68

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                              TOTAL                        23,181.68


              State the following:

              Average Income (from Schedule I, Line 12)                                                        5,186.95

              Average Expenses (from Schedule J, Line 22)                                                      5,443.00

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )                                                       1,383.75


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                    4,475.24

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                           22,258.86

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                     922.82

              4. Total from Schedule F                                                                                           292,588.44

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       297,986.50




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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
            Jochen Mueller
 In re      Mary Mueller                                                                                 Case No.
                                                                                    Debtor(s)            Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting
            of     37     sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date November 30, 2015                                                 Signature   /s/ Jochen Mueller
                                                                                    Jochen Mueller
                                                                                    Debtor


 Date November 30, 2015                                                 Signature   /s/ Mary Mueller
                                                                                    Mary Mueller
                                                                                    Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                              United States Bankruptcy Court
                                                                     Northern District of Georgia
            Jochen Mueller
 In re      Mary Mueller                                                                            Case No.
                                                                                   Debtor(s)        Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: November 30, 2015                                                /s/ Jochen Mueller
                                                                        Jochen Mueller
                                                                        Signature of Debtor

 Date: November 30, 2015                                                /s/ Mary Mueller
                                                                        Mary Mueller
                                                                        Signature of Debtor




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B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF GEORGIA
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                  United States Bankruptcy Court
                                                        Northern District of Georgia
          Jochen Mueller
 In re    Mary Mueller                                                                                  Case No.
                                                                         Debtor(s)                      Chapter      7

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                            Certification of Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Jochen Mueller
Mary Mueller                                                               X /s/ Jochen Mueller                               November 30, 2015
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                              Date

Case No. (if known)                                                        X /s/ Mary Mueller                                 November 30, 2015
                                                                             Signature of Joint Debtor (if any)               Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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 Fill in this information to identify your case:                                              Check one box only as directed in this form and in
                                                                                              Form 22A-1Supp:
 Debtor 1            Jochen Mueller

 Debtor 2          Mary Mueller                                                                      1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                     2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Northern District of Georgia                         applies will be made under Chapter 7 Means Test
                                                                                                         Calculation (Official Form 22A-2).
 Case number                                                                                         3. The Means Test does not apply now because of
 (if known)                                                                                             qualified military service but it could apply later.

                                                                                                     Check if this is an amended filing
Official Form 22A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                             12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because
you do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from
Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp) with this form.
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
           Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
              penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
              living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
    If you have nothing to report for any line, write $0 in the space.
                                                                                                 Column A                  Column B
                                                                                                 Debtor 1                  Debtor 2 or
                                                                                                                           non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                    $               0.00      $              0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                      $               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                        0.00      $              0.00
  5. Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                   $    0.00
       Ordinary and necessary operating expenses                         -$    0.00
       Net monthly income from a business, profession, or farm $               0.00 Copy here -> $               0.00      $              0.00
  6. Net income from rental and other real property
     Gross receipts (before all deductions)                              $     0.00
       Ordinary and necessary operating expenses                         -$    0.00
       Net monthly income from rental or other real property             $     0.00 Copy here -> $               0.00      $              0.00
                                                                                                 $               0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                              page 1
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 Debtor 1     Jochen Mueller
 Debtor 2     Mary Mueller                                                                              Case number (if known)



                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                                      $                  0.00      $             0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                            $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                         $              983.75        $           400.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total on line 10c.
            10a.                                                                                    $                  0.00      $             0.00
            10b.                                                                                    $                  0.00      $             0.00
            10c. Total amounts from separate pages, if any.                                      + $                   0.00      $             0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       983.75          +$          400.00       =$       1,383.75

                                                                                                                                                Total current monthly
                                                                                                                                                income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>      12a. $          1,383.75

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $         16,605.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  GA

       Fill in the number of people in your household.                       2
       Fill in the median family income for your state and size of household.                                                          13.     $      53,790.00

  14. How do the lines compare?
       14a.            Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                       Go to Part 3.
       14b.            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                       Go to Part 3 and fill out Form 22A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Jochen Mueller                                                        X /s/ Mary Mueller
                   Jochen Mueller                                                          Mary Mueller
                   Signature of Debtor 1                                                   Signature of Debtor 2
        Date November 30, 2015                                                    Date November 30, 2015
             MM / DD / YYYY                                                            MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 22A-2.
              If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Debtor 1    Jochen Mueller
 Debtor 2    Mary Mueller                                                                         Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 05/01/2015 to 10/31/2015.

Line 9 - Pension and retirement income
Source of Income: germany
Income by Month:
 6 Months Ago:                                   05/2015                    $983.75
 5 Months Ago:                                   06/2015                    $983.75
 4 Months Ago:                                   07/2015                    $983.75
 3 Months Ago:                                   08/2015                    $983.75
 2 Months Ago:                                   09/2015                    $983.75
 Last Month:                                     10/2015                    $983.75
                                 Average per month:                         $983.75




Non-CMI - Social Security Act Income
Source of Income: social security
Income by Month:
 6 Months Ago:                                   05/2015                   $1,936.20
 5 Months Ago:                                   06/2015                   $1,936.20
 4 Months Ago:                                   07/2015                   $1,936.20
 3 Months Ago:                                   08/2015                   $1,936.20
 2 Months Ago:                                   09/2015                   $1,936.20
 Last Month:                                     10/2015                   $1,936.20
                                 Average per month:                        $1,936.20




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                               page 3
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 Debtor 1    Jochen Mueller
 Debtor 2    Mary Mueller                                                                         Case number (if known)


                                          Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 05/01/2015 to 10/31/2015.

Line 9 - Pension and retirement income
Source of Income: eastern airlines
Income by Month:
 6 Months Ago:                                   05/2015                    $400.00
 5 Months Ago:                                   06/2015                    $400.00
 4 Months Ago:                                   07/2015                    $400.00
 3 Months Ago:                                   08/2015                    $400.00
 2 Months Ago:                                   09/2015                    $400.00
 Last Month:                                     10/2015                    $400.00
                                 Average per month:                         $400.00




Non-CMI - Social Security Act Income
Source of Income: social security
Income by Month:
 6 Months Ago:                                   05/2015                   $1,867.00
 5 Months Ago:                                   06/2015                   $1,867.00
 4 Months Ago:                                   07/2015                   $1,867.00
 3 Months Ago:                                   08/2015                   $1,867.00
 2 Months Ago:                                   09/2015                   $1,867.00
 Last Month:                                     10/2015                   $1,867.00
                                 Average per month:                        $1,867.00




Official Form 22A-1                                       Chapter 7 Statement of Your Current Monthly Income                               page 4
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                         Affiliated
                         Po Box 790001
                         Sunrise Beach, MO 65079



                         American Express
                         P.O. Box 981537
                         El Paso, TX 79998



                         American Express
                         P.O. Box 650448
                         Dallas, TX 75265-0448



                         American Honda Finance
                         Po Box 1027
                         Alpharetta, GA 30009



                         Ameripath
                         4350 Alpha Road
                         75244
                         Dallas, TX 75244



                         Ameripath
                         P.O. Box 740976
                         Cincinnati, OH 45274



                         Amex
                         Po Box 297871
                         Fort Lauderdale, FL 33329



                         Atlanta Cancer Care
                         NSH Cancer Institute
                         P.O. Box 935547
                         Atlanta, GA 31193



                         Bay Area Credit Services
                         P.O. Box 467600
                         Atlanta, GA 31146
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                     Bk Of Amer
                     1800 Tapo Canyon Rd
                     Simi Valley, CA 93063



                     Bk Of Amer
                     Po Box 982235
                     El Paso, TX 79998



                     Blmdsnb
                     9111 Duke Blvd
                     Mason, OH 45040



                     Brent D. Stamps
                     P.O. Box 920658
                     Norcross, GA 30010



                     Cap1/Cosco
                     Po Box 5253
                     Carol Stream, IL 60197



                     Cap1/Vlcty
                     Po Box 15524
                     Wilmington, DE 19850



                     Center for Women's Health
                     1 Magnolia Court
                     Moultrie, GA 31768



                     Chase
                     po box 15153
                     Wilmington, DE 19886-5153



                     Chase Card
                     Po Box 15298
                     Wilmington, DE 19850
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                     Chase Card
                     201 N Walnut Street Mailstop De1-1027
                     Wilmington, DE 19801



                     Citi
                     Po Box 6241
                     Sioux Falls, SD 57117



                     Citi Cards
                     Processing Center
                     Des Moines, IA 50363-0005



                     Citibank N A
                     701 E 60th St N
                     Sioux Falls, SD 57104



                     CitiCards
                     P.O. Box 9001037
                     Louisville, KY 40290



                     Cititcards
                     P.O. Box 9001037
                     Louisville, KY 40290



                     Cobb County Tax Assessor
                     736 Whitlock Avenue
                     Suite 200
                     Marietta, GA 30064



                     Cobb County Tax Assessor
                     P.O. Box 649
                     Marietta, GA 30061



                     Collection Services of Athens
                     P.O. Box 8048
                     Athens, GA 30607
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                     Colquitt Hospital
                     3131 South Main Street
                     Moultrie, GA 31768



                     Colquitt Regional Cardiology
                     1 Sweet Bay Court
                     Ste B
                     Moultrie, GA 31768



                     Colquitt Regional Medical Cen
                     P.O. Box 404311
                     Atlanta, GA 30384



                     Convenient Pharmacy
                     P.O. Box 861
                     Moultrie, GA 31776



                     Discover
                     P.O. Box 71084
                     Charlotte, NC 28272



                     Discover Fin Svcs Llc
                     Po Box 15316
                     Wilmington, DE 19850



                     Divine Finney
                     414A North Westover Blvd
                     Albany, GA 31708



                     Eastern Financial Fl C
                     3700 Lakeside Dr
                     Miramar, FL 33027



                     EGS Financial Care Inc
                     P.O. Box 1020 Dept 806
                     Horsham, PA 19044
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                     Emory
                     P.O. Box 934120
                     Atlanta, GA 31193



                     Emory Adventist Hospital
                     P.O. Box 1965
                     Southgate, MI 48195



                     Emory Adventist Hosptial
                     3949 South Cobb Drive
                     Smyrna, GA 30082



                     Emory Health Care
                     201 Downan Drive
                     Atlanta, GA 30322



                     Emory Hospital
                     1364 Clifton Road
                     Atlanta, GA 30322



                     Emory Hospital
                     P.O. Box 3475
                     Toledo, OH 43607



                     Emory Saint Joseph
                     P.O. Box 3475
                     Toledo, OH 43607



                     Emory University Hospital
                     P.O. Box 660827
                     Mailstop #22222223
                     Dallas, TX 75266



                     FAMS
                     P.O. Box 451409
                     Atlanta, GA 31145
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                     Fia Csna
                     Po Box 982235
                     El Paso, TX 79998



                     First Data
                     265 Broad Hollow R
                     Melville, NY 11747



                     First Source Advantage
                     205 Bryant Woods South
                     Amherst, NY 14228



                     Fnb Omaha
                     P.O. Box 3412
                     Omaha, NE 68197



                     Fnb Omaha
                     Po Box 3412
                     Omaha, NE 68103



                     GC services
                     PO BOX 1545
                     Houston, TX 77251



                     GECB Emory
                     P.O. Box 102398
                     Atlanta, GA 30368



                     Honda Financial
                     P.O. Box 105027
                     Atlanta, GA 30348-5027



                     IRS
                     P.O. Box 21126
                     Philadelphia, PA 19114
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                     IRS
                     ACS Support - Stop 5050
                     P.O. Box 219236
                     Kansas City, MO 64121



                     JD Waller
                     1 Sweet Bay Court
                     Ste B
                     Moultrie, GA 31768



                     John Hopkins
                     P.O. Box 8540
                     Big Sandy, TX 75755



                     Kevin B. Wilson
                     P.O. Box 24103
                     Chattanooga, TN 37422



                     Kirk Clinic Family Medicine
                     8 Laurel Court
                     Moultrie, GA 31768



                     Kirk Clinic LLC
                     P.O. Box 3877
                     Moultrie, GA 31776



                     Kohl's
                     P.O. Box 2983
                     Milwaukee, WI 53201



                     Kohls/Capone
                     N56 W 17000 Ridgewood Dr
                     Menomonee Falls, WI 53051



                     Lge Community Cu
                     Po Box 1188
                     Marietta, GA 30061
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                     Lge Cu
                     86 South Cobb Dr
                     Marietta, GA 30060-3113



                     Louis M. Turchiarelli
                     305 Lawrence Street NE #100
                     Marietta, GA 30060



                     Macon County Tax Collector
                     5 West Main Street
                     Franklin, NC 28734



                     Macy's
                     P.O. Box 183083
                     Columbus, OH 43218-3083



                     Mcydsnb
                     9111 Duke Blvd
                     Mason, OH 45040



                     Mmca/C1
                     Po Box 91614
                     Mobile, AL 36691



                     NAPA Psychiatric Asson
                     2150 Peachford Road
                     Atlanta, GA 30338



                     Nationstar Mortgage
                     8950 Cypress Waters Blvd.
                     Coppell, TX 75019



                     Nationstar Mortgage Ll
                     350 Highland Dr
                     Lewisville, TX 75067
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                     Nationwide Credit
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                     Lehigh Valley, PA 18002-6314



                     North American Credit Services
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                     Chattanooga, TN 37422



                     North Atlanta Professioinal
                     P.O. Box 932380
                     Atlanta, GA 31193



                     North Atlanta Pulmonary
                     P.O. Box 935544
                     Atlanta, GA 31193



                     Northland Group
                     P.O. Box 390846
                     Minneapolis, MN 55439



                     Northside Anesthesiology
                     1000 Johnson Ferry Rd
                     Atlanta, GA 30342



                     Northside Emergency Assn
                     1000 Johnson Ferry Road NE
                     Atlanta, GA 30342



                     Northside Emergency Assoc
                     P.O. Box 88087
                     Chicago, IL 60680



                     Northside Hospital
                     1100 Johnson Ferry Rd
                     Ste. 780
                     Atlanta, GA 30342-1611
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                     Northside Radiology
                     P.O. Box 100015
                     Kennesaw, GA 30156-9215



                     Northside Radiology
                     P.O. Box 371863
                     Pittsburgh, PA 15250-7863



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                     545 W Inman ST
                     Cleveland, TN 37311



                     NRS
                     P.O. Box 8005
                     Cleveland, TN 37320



                     NS Primary Care Prof Svcs
                     P.O. Box 935544
                     Atlanta, GA 31193



                     Pathology & Lab Medicine
                     3300 Buckeye Rd
                     STE 178
                     Atlanta, GA 30341



                     Patient Accounts Bureau
                     P.O. Box 279
                     Norcross, GA 30091-0279



                     Peachford BHS
                     2151 Peachford Road
                     Atlanta, GA 30338



                     Phoebe Physician Group
                     P.O. Box 3109
                     Albany, GA 31706
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                     Phoebe Physicians Group
                     510 West 2nd Avenue
                     Albany, GA 31706



                     Phoenix Financial Services
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                     Kennesaw, GA 30156



                     Quantum Radiology
                     P.O. Box 1168780
                     Atlanta, GA 30368



                     Quantum Radiology
                     1834 Shackleford CT
                     STE 350
                     Norcross, GA 30093



                     QVC
                     1200 Wilson Drive
                     West Chester, PA 19380



                     Resurgens Orthopaedics
                     P.O. Box 720580
                     Atlanta, GA 30358-2580
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                     Ridgeview
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                     Smyrna, GA 30080



                     Ridgeview Institute
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                     Atlanta, GA 31193



                     Sam's Club
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                     Atlanta, GA 30353



                     Schumachergoup
                     P.O. Box 770
                     Larkspur, CO 80118



                     Smyrna Emergency Physicians
                     3949 South Cobb Drive SE
                     Smyrna, GA 30080



                     Smyrna Emergency Physicians
                     P.O. Box 8750
                     Philadelphia, PA 19101



                     Spacecoast Credit Union
                     8045 N. Wickham Road
                     Melbourne, FL 32940



                     Syncb/Belk
                     Po Box 965028
                     Orlando, FL 32896



                     Syncb/Jcp
                     Po Box 965007
                     Orlando, FL 32896
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                     Orlando, FL 32896



                     Syncb/Lord & Tay
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                     Orlando, FL 32896



                     Syncb/Mervyns
                     Po Box 965005
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                     Po Box 673
                     Minneapolis, MN 55440
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                     Tnb - Target
                     Po Box 673
                     Minneapolis, MN 55440



                     Turning Point Hospital
                     3015 Veterans Pkwy
                     Moultrie, GA 31768



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                     2324 Overland Drive
                     Billings, MT 59102



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                     Po Box 14517
                     Des Moines, IA 50306



                     Wells Fargo Bank
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                     Dallas, TX 75266-0930



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                     Billings, MT 59107



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